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        Judgment                     Document
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                                                                                 A. MASON            #: 2389
                                                                                           / 6:04-cr-00127-06
                                    UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA                                                             Case Number: 6:04-cr-00127-06
                   V.                                                                USM Number: 07315-088
DANE A. MASON                                                                        Defendant’s Attorney: Matthew A. Victor
                                      AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original Judgment: April 28, 2005                                  “         Modification of Supervision Conditions (18 U.S.C. §§
(or Date of Last Amended Judgment)                                                   3563(c) or 3583(e))
                                                                           “         Modification of Imposed Term of Imprisonment for
                                                                                     Extraordinary and Compelling Reasons (18 U.S.C. §
Reason for Amendment:
                                                                                     3582(c)(1))
“        Correction of Sentence on Remand (18 U.S.C. § 3742(f)(1)
                                                                           “         Modification of Imposed Term of Imprisonment for
         and (2))
                                                                                     Retroactive Amendment(s) to the Sentencing Guidelines (18
“        Reduction of Sentence for Changed Circumstances (Fed. R.
                                                                                     U.S.C. § 3582(c)(2))
         Crim. P. 35(b))
                                                                           “         Direct Motion to District Court Pursuant to 28 U.S.C. § 2255
“        Correction of Sentence by Sentencing Court (Fed. R. Crim.
                                                                           “         Direct Motion to District Court Pursuant to 18 U.S.C. §
         P. 35(a))
                                                                                     3559(c)(7)
X        Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.
                                                                           “         Modification of Restitution Order (18 U.S.C. § 3664)
         36)

THE DEFENDANT :
“        pleaded guilty to count(s)_________________.
“        pleaded nolo contendere to count(s)_______ which was accepted by the court.
*X       was found guilty on Counts 1, 10, 12 & 13 of Superseding Indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                Nature of Offense                                                          Offense Ended            Count

 21 U.S.C. § 846                Conspiracy to Distribute 500 Grams of More of Cocaine                            06/02/04                1

 21 U.S.C. § 841(a)(1)          Distribution of Cocaine                                                          04/16/04               10

 21 U.S.C. § 841(a)(1)          Distribution of Cocaine                                                          04/22/04               12

 21 U.S.C. § 841(a)(1)          Distribution of Cocaine                                                          06/01/04               13

The defendant is sentenced as provided in pages 2 through 6 of this judgment.

“        The defendant has been found not guilty on count(s)__________.
“        Count(s)__________is(are) dismissed on the motion of the United States.

         It is ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and the United States Attorney of material changes in economic circumstances.

                                                                           Date of Imposition of Judgment: April 25, 2005
                                                                           Date Signed: May 3, 2005




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                                                     IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of 63 months.


X       The court RECOMMENDS the following to the Bureau of Prisons: The court strongly recommends that the
        defendant be placed in the Bureau of Prisons Intensive Drug Treatment Program. The court further
        recommends that the defendant be placed in a facility as near as possible to his home in Parkersburg, West
        Virginia.


X       The defendant is remanded to the custody of the United States Marshal.

“       The defendant shall surrender to the United States Marshal for this district by 1:00 p.m. on __________________.

“       The defendant shall surrender to the United States Marshal for this district as notified by the United States Marshal.

“       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons by 1:00
        p.m. on ________________.

“       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons as notified
        by the United States Marshal.

“       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons as notified
        by the Probation or Pretrial Services Office.



                                                          RETURN

I have executed this judgment as follows:


        Defendant delivered ____________________________________ to ____________________________________

a ______________________________, with a certified copy of this judgment.




                                                                            United States Marshal


                                                                            By
                                                                            Deputy United States Marshal




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                                                      SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

Check if applicable:
X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

“        The above drug testing condition is suspended based on the court’s determination that the defendant poses a low risk of future
         substance abuse.

“        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

“        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
         a student, as directed by the probation officer.

“        The defendant shall participate in an approved program for domestic violence.

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments page of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION

1)       the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)       the defendant shall support his or her dependents and meet other family responsibilities;
5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptance reasons;
6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
         of any felony, unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12)      the defendant shall not enter into any agreement or act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.




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                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

While on supervised release, the defendant must not commit another federal, state, or local crime, must not possess a firearm
or other dangerous device, and must not unlawfully possess a controlled substance. The defendant must also comply with the
standard terms and conditions of supervised release as recommended by the United States Sentencing Commission and as
adopted by the United States District Court for the Southern District of West Virginia, including the special condition that the
defendant shall participate in a program of testing, counseling, and treatment for drug and alcohol abuse as directed by the
probation officer, until such time as the defendant is released from the program by the probation officer.




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                                       CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties as set out on the Schedule of Payments page.

                               Assessment                       Fine                            Restitution
 TOTALS:                        $400                            $0                              $0

“      The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case will be
       entered after such determination.

“      The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



 Name of Payee                                        Total Loss*            Restitution Ordered     Priority or Percentage




 TOTALS:                                              $                      $



“      Restitution amount ordered pursuant to plea agreement $__________________

“      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options
       on Page 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

“      The court determined that the defendant does not have the ability to pay interest and it is ordered that the interest
       requirement is waived for the fine.
“      The court determined that the defendant does not have the ability to pay interest and it is ordered that the interest
       requirement is waived for the restitution.
“      The court determined that the defendant does not have the ability to pay interest and it is ordered that the interest
       requirement for the fine is modified as follows:
“      The court determined that the defendant does not have the ability to pay interest and it is ordered that the interest
       requirement for the restitution is modified as follows:

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 2994, but before April 23, 1996.




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                                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

X       Lump sum payment of $400 due immediately.

“       Lump sum payment of $_____________ due immediately, balance due as set forth below:

“       Special instructions regarding the payment of criminal monetary penalties:




Unless the court expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


“       Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

“       The defendant shall pay the cost of prosecution.

“       The defendant shall pay the following court cost(s):

“       The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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